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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF KENTUCKY
                               LOUISVILLE DIVISION

LISA MCCLANAHAN,                               )
                                               )
       Plaintiff,                              )
                                               )
       v.                                      )       No. 3:19-cv-00767-CRS
                                               )
COUNTRY DOOR, INC.,                            )
                                               )
       Defendant.                              )

                          NOTICE OF VOLUNTARY DISMISSAL

       Plaintiff, LISA MCCLANAHAN, (“Plaintiff”), through her attorney, Shireen Hormozdi,

pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), voluntarily dismisses this case, with

prejudice, against Defendant, COUNTRY DOOR, INC.



                                     RESPECTFULLY SUBMITTED,

February 3, 2020                     By:_/s/ Shireen Hormozdi___________
                                            Shireen Hormozdi
                                            Hormozdi Law Firm, LLC
                                            1770 Indian Trail Lilburn Road, Suite 175
                                            Norcross, GA 30093
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                                            Attorney for Plaintiff




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                               CERTIFICATE OF SERVICE

       On February 3, 2020, I electronically filed the Notice of Voluntary Dismissal with the
Clerk of the U.S. District Court, using the CM/ECF system. I e-mailed a copy of the filed Notice
to Defense Counsel.

                             By: /s/ Shireen Hormozdi
                                    Shireen Hormozdi




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